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          18                            CENTRAL DISTRICT OF CALIFORNIA
          19                                        SOUTHERN DIVISION
          20        MASIMO CORPORATION, a                     CASE NO. 8:20-cv-00048-JVS (JDEx)
                    Delaware corporation; and CERCACOR
          21        LABORATORIES, INC., a Delaware            REPLY IN SUPPORT OF
                    corporation,                              DEFENDANT APPLE INC.’S
          22                                                  MOTION TO DISMISS PORTIONS
                                      Plaintiffs,             OF THE THIRTEENTH CAUSE OF
          23                                                  ACTION IN PLAINTIFFS’ FOURTH
                          v.                                  AMENDED COMPLAINT
          24
                    APPLE INC., a California corporation,     Hearing:
          25                                                  Date:       April 19, 2021
                                      Defendants.             Time:       1:30 p.m.
          26                                                  Place:      Courtroom 10C
                                                              Judge:      Hon. James V. Selna
          27
          28

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            1    with working on the Apple Watch, id. None of these allegations (almost all of which
            2    were previously pled, see TAC ¶¶ 19–24, 229) speak to inducement—i.e., that
            3    defendants committed an “intentional act” designed to induce breach—and therefore fail
            4    to establish that theory of misappropriation. See Be In, Inc. v. Google Inc., 2013 WL
            5    5568706, at *3 (N.D. Cal. Oct. 9, 2013) (“two conclusory statements” were insufficient
            6    to support apparent inducement theory).
            7          Plaintiffs’ redline comparison of the TAC and 4th AC only proves Apple’s point.
            8    See ECF 320-2, Ex. A. Plaintiffs’ professed new “inducement” allegation merely asserts
            9    that “Apple provided substantial financial incentives” ostensibly to induce Plaintiffs’
          10     former employees to misappropriate Plaintiffs’ Confidential Information. Id. ¶ 232.
          11     However, the only purported fact alleged to support this allegation is that O’Reilly chose
          12     to leave Masimo (which he supposedly considered to be his “family”) to join Apple for
          13     better pay. Id.12 This assertion, even if accepted as true, does not rise to the level of
          14     plausibly alleging inducement—it merely alleges that an employee left Plaintiffs to join
          15     one of the world’s leading technology companies for a competitive salary.
          16           Aware that they have not alleged plausible facts to support inducement, Plaintiffs
          17     now argue in their Opposition that “Apple overpaid” O’Reilly or “paid a premium” to
          18     him. Opp. 16, 18. But these newfound assertions—that O’Reilly was purportedly paid
          19     more than he was qualified to earn—appear nowhere in the complaint, and for that
          20     reason too, the inducement theory fails. Broam v. Bogan, 320 F.3d 1023, 1026 n.2 (9th
          21     Cir. Feb. 25, 2003) (“In . . . a Rule 12(b)(6) dismissal, a court may not look beyond the
          22     complaint to . . . a memorandum in opposition to a defendant’s motion to dismiss.”);
          23     Morgan Distrib. Co. v. Unidynamic Corp., 868 F.2d 992, 995 (8th Cir. 1989) (“a
          24     complaint may not be amended by the briefs in opposition to a motion to dismiss.”);
          25     Sunlight Prod. Techs., Ltd. v. MPOWERD Inc., 2015 WL 12655472, at *4 (C.D. Cal.
          26
          27     12
                    Plaintiffs assert they “do not rely on financial incentives in isolation, much less argue
          28     financial payments always show inducement.” Opp. 19. But they point to no other
                 specific inducement allegations to support their theory.
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            1    March 23, 2015) (finding it “improper to introduce . . . new factual allegations” through
            2    rebuttal briefing).
            3          Applying Plaintiffs’ own rule—to read the complaint’s allegations together, Opp.
            4    18–19—does not change this result. Even accepting as true the so-called “new”
            5    allegations, Plaintiffs’ inducement theory still boils down to non-actionable conduct—
            6    that Apple (1) had a “strategic objective in healthcare,” which was “central to Apple’s
            7    future,” ECF 320-2, Ex. A ¶¶ 230, 232; (2) hired what it believed to be qualified
            8    individuals to fill specific roles, id. ¶¶ 230–32; and (3) paid one of those individuals
            9    more than what Plaintiffs paid him, id. ¶ 232. Put differently, Apple acted as any
          10     leading, competitive technology company would to hire talent and pursue market
          11     initiatives. This is not improper inducement. When two possible explanations are
          12     presented, “plaintiffs cannot offer allegations that are merely consistent with their
          13     favored explanation but are also consistent with the alternative explanation”; rather
          14     “[s]omething more is needed, such as facts tending to exclude the possibility that the
          15     alternative explanation is true, in order to render plaintiffs’ allegations plausible.”
          16     Eclectic Prop, 751 F.3d at 996–97 (quoting In re Century Aluminum Co. Secs. Litig.,
          17     729 F.3d 1104 (9th Cir. 2013); see also Veronica Foods, 2017 WL 2806706, at *14.
          18     The “something more” is sorely lacking here.
          19           Further, Plaintiffs’ attempts to distinguish Apple’s ample support fall flat. See
          20     Opp. 18–19. Plaintiffs conveniently omit the first part of the footnote they cite from Soo
          21     Park, which emphasizes the “rather unusual course of events” in that case as “suggestive
          22     of illegal conduct.” Soo Park, 851 F.3d at 928 n.22. But Plaintiffs have not pled that
          23     there is anything “rather unusual” about Apple offering competitive compensation to its
          24     employees. And State Comp. Ins. Fund v. Capen passed the motion to dismiss stage
          25     only because “the Complaint contain[ed] a ‘significant level of factual specificity’”
          26     regarding Defendants’ “inten[t] to defraud.” 2015 WL 13322034, at *6 (C.D. Cal. Dec.
          27     18, 2015). Factual specificity is absent here.
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            1          Finally, Plaintiffs mischaracterize Apple’s arguments—once again, to no avail.
            2    Plaintiffs argue that Apple is somehow inconsistent because it previously argued that
            3    Plaintiffs’ sole conclusory inducement allegation was insufficient, but it now supposedly
            4    asks the Court to disregard “numerous” allegations purportedly supporting Plaintiffs’
            5    inducement theory. Opp. 17. That is incorrect. Apple argued before that the only
            6    allegation supporting the inducement theory was conclusory, ECF 241 at 22—and the
            7    Court so found, ECF 264 at 14. Plaintiffs’ argument that Apple is asking the Court to
            8    disregard allegations the Court already found insufficient is tantamount to arguing the
            9    Court somehow did not properly consider their prior allegations simply because the
          10     Court did not cite every irrelevant allegation individually in its Order. Of course,
          11     Plaintiffs cite no authority that the Court had an obligation to do so. The Court should
          12     reject Plaintiffs’ improper motion for reconsideration regardless. See L.R. 7-18 (setting
          13     forth grounds for reconsideration motion).
          14           4.     Plaintiffs Still Fail to Allege That Apple Is Vicariously Liable Under
          15                  Respondeat Superior
          16           Plaintiffs accuse Apple of adopting a “draconian” standard for pleading
          17     respondeat superior, Opp. 21, but the standard is simple and well established: liability
          18     attaches under a respondeat superior theory only where 1) an employee committed a
          19     tort, and 2) did so “within the scope of [] employment,” Brain Injury Ass’n of Cal. v.
          20     Yari, 2020 WL 3643482, at *6 (C.D. Cal. Apr. 30, 2020).
          21           Plaintiffs argue that the Court’s rejection of their respondeat superior theory only
          22     pertained to the “first element,” i.e., that Lamego and O’Reilly “committed a tort.” Opp.
          23     19. This is incorrect—Plaintiffs themselves cite the Court’s specific finding that their
          24     allegation that “Lamego and O’Reilly . . . used and disclosed Plaintiffs’ Confidential
          25     Information within the scope of their employment” was “conclusory” and
          26     “insufficient.” ECF 264 at 14–15 (emphasis added). Plaintiffs do not plausibly allege
          27     Lamego and O’Reilly committed a tort, let alone plausibly claim that they did so in the
          28     scope of their employment. Similarly, Plaintiffs wrongly suggest that “Apple does not
                                                          20
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            1    Preliminary Injunction concerned a trade secret not at issue here, ECF 198 at 1–2; ECF
            2    161-1 at 12–13, whereas the MTD TAC Order expressly found the allegations that are
            3    at issue here to be inadequate, ECF 264 at 9, 13–15. Plaintiffs have not remedied that
            4    inadequacy, and so these portions of the 4th AC should be dismissed with prejudice.
            5                                    IV. CONCLUSION
            6          Apple respectfully requests that the Court dismiss with prejudice the above-
            7    mentioned portions of Plaintiffs’ Thirteenth Cause of Action for trade secret
            8    misappropriation.
            9
                 Dated: April 2, 2021
          10
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Gibson, Dunn &                REPLY IN SUPPORT OF APPLE’S MOTION TO DISMISS PORTIONS OF THE
Crutcher LLP
                          THIRTEENTH CAUSE OF ACTION IN PLAINTIFFS’ FOURTH AMENDED COMPLAINT
                                           CASE NO. 8:20-CV-00048-JVS (JDEX)
